    Case 2:13-cv-04682-SVW-SH Document 8 Filed 08/29/13 Page 1 of 1 Page ID #:29

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:13-cv-04682-SVW-SH                                           Date      August 29, 2013
 Title             Nieves Meza v. Veros Credit LLC et al




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                                   N/A
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              N/A                                                     N/A
 Proceedings:                 IN CHAMBERS ORDER DISCHARGING OSC


       The Court, on August 14, 2013, issued an order to show cause why this action should not be
dismissed for lack of prosecution. In response, the plaintiff filed a notice of voluntary dismissal on
August 21, 2013. Therefore, the Court’s OSC is discharged and the matter is dismissed.




                                                                                                    :
                                                               Initials of Preparer              PMC
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                    Page 1 of 1
